Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 1 of 53 Page ID
                                 #:7256




                          EXHI BI T A
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 2 of 53 Page ID
                                                  #:7257



    Date       Timekeeper           Hour ly Rate          Descr iption of Ser vices Per for med        Time Billed Amount
 10/15/2020 Mayo, Sharon D.        $895.50         Emails with J. Wagener and C. Havens re filing      .10         $89.55
                                                   motion for post-judgment costs and fees.
 10/15/2020 Mayo, Sharon D.        $895.50         Review Defendants’ timeliness objection to          .20        $179.10
                                                   motion for post-judgment fees and costs, and
                                                   confer with J. Wagener re same and re emails
                                                   with D. Adli.
 10/15/2020 Havens, Cassandra E.   $607.50         Finalize and file motion for post-judgment          .10        $60.75
                                                   enforcement fees.
 10/15/2020 Havens, Cassandra E.   $607.50         Review and analyze Defendants’ objection to fee     .10        $60.75
                                                   motion.
 10/16/2020 Mayo, Sharon D.        $895.50         Review D. Adli emails (.1), telephone conference    .80        $716.40
                                                   with J. Wagener and R. Reimer re same and re
                                                   strategy (.2), review and comment on response to
                                                   Adli (.1); revise draft response to Defendants’
                                                   objection to Plaintiffs’ motion for post-judgment
                                                   costs and fees (.4).
 10/16/2020 Havens, Cassandra E.   $607.50         Finalize reply declaration and arrange for filing   .40        $243.00
                                                   and service for Monday.
 10/19/2020 Mayo, Sharon D.        $895.50         Finalize response to Defendants’ timeliness         .60        $537.30
                                                   objection to Plaintiffs’ motion for post-judgment
                                                   costs and fees (.2), review D. Adli email re
                                                   payment of judgment (.1), and confer with J.
                                                   Wagener re status and strategy (.2); review
                                                   further filing by Defendants (.1).
 10/19/2020 Havens, Cassandra E.   $607.50         Oversee filing of reply brief.                      .10        $60.75
 10/20/2020 Mayo, Sharon D.        $895.50         Review D. Adli email to J. Wagener and              .10        $89.55
                                                   comment on draft response.
 10/20/2020 Mayo, Sharon D.        $895.50         Confer with J. Wagener and C. Havens re re-         .40        $358.20
                                                   filing motion for fees and costs to avoid
                                                   Defendants’ timeliness objection (.1); prepare
                                                   notice of withdrawal (.2); confer with C. Havens
                                                   re effectuating withdrawal and re-filing (.1).


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 3 of 53 Page ID
                                                  #:7258



    Date        Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med        Time Billed Amount
 10/20/2020 Havens, Cassandra E.   $607.50         Review and analyze reply filed by defendant and     1.00        $607.50
                                                   confer with S. Mayo regarding same (.2); revise
                                                   motion for post-judgment fees, file withdrawal of
                                                   earlier motion, and re-file post-judgment
                                                   enforcement fees motion (.8).
 10/21/2020 Mayo, Sharon D.        $895.50         Review Defendants’ second ex parte application      .20        $179.10
                                                   re payment of amended judgment and confer
                                                   with J. Wagener and R. Reimer re timing and
                                                   arguments for response.
 10/21/2020 Havens, Cassandra E.   $607.50         Review and analyze ex parte application filed by    .60        $364.50
                                                   defendants (.2), confer with S. Mayo regarding
                                                   opposition (.4).
 10/22/2020 Havens, Cassandra E.   $607.50         Confer with S. Mayo and oversee filing of           .50        $303.75
                                                   response to ex parte application.
 10/22/2020 Mayo, Sharon D.        $895.50         Review email from Defendants to Judge Bernal        .10        $89.55
                                                   requesting an order from the Court to deposit
                                                   amount of amended judgment with the Court,
                                                   and confer with J. Wagener re same.
 10/22/2020 Mayo, Sharon D.        $895.50         Revise draft opposition to defendants’ second ex    .40        $358.20
                                                   parte application and confer with team re same.
 10/26/2020 Havens, Cassandra E.   $607.50         Review and analyze latest filings regarding         .30        $182.25
                                                   payment of amended judgment.
 10/30/2020 Havens, Cassandra E.   $607.50         Review and analyze order regarding judgment         .10        $60.75
                                                   deposit and confer with team regarding same.
 10/30/2020 Mayo, Sharon D.        $895.50         Review Judge Bernal’ s order on defendants’ ex      .20        $179.10
                                                   parte application and confer with J. Wagener and
                                                   R. Reimer re same.
 11/02/2020 Mayo, Sharon D.        $895.50         Review Defendants’ opposition to Plaintiffs’        .40        $358.20
                                                   motion for post-judgment fees and confer with R.
                                                   Reimer and J. Wagener re same.
 11/02/2020 Havens, Cassandra E.   $607.50         Review and analyze opposition to fee motion and     .40        $243.00
                                                   prepare for reply.


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 4 of 53 Page ID
                                                  #:7259



    Date       Timekeeper           Hour ly Rate           Descr iption of Ser vices Per for med        Time Billed Amount
 11/03/2020 Mayo, Sharon D.        $895.50         Confer with C. Havens re Plaintiffs’ opposition      .20         $179.10
                                                   to fee motion, review C. Havens summary of
                                                   opposition, and forward to J. Wagener for
                                                   assistance in drafting reply.
 11/03/2020 Havens, Cassandra E.   $607.50         Confer with S. Mayo regarding strategy for reply     3.90       $2,369.25
                                                   (.1); research arguments and cases cited in
                                                   opposition brief and draft reply arguments to
                                                   address same (3.8).
 11/04/2020 Havens, Cassandra E.   $607.50         Compare rates in AIPLA resource to billed rates      .10        $60.75
                                                   for fee motion.
 11/06/2020 Mayo, Sharon D.        $895.50         Review Receiver’ s request to submit deal            .10        $89.55
                                                   documents under seal.
 11/06/2020 Havens, Cassandra E.   $607.50         Review receiver’ s request to submit documents       1.1        $668.25
                                                   under seal (.2); revise reply declaration in
                                                   support of fee motion (.9).
 11/08/2020 Mayo, Sharon D.        $895.50         Review and revise draft reply in support of          .70        $626.85
                                                   motion for post-judgment fees and costs (.6), and
                                                   confer with J. Wagener and R. Reimer re same
                                                   (.1).
 11/09/2020 Mayo, Sharon D.        $895.50         Review Defendants’ purported notice of               .10        $89.55
                                                   satisfaction of amended judgment and objection
                                                   to request for leave to file document for in
                                                   camera review.
 11/09/2020 Mayo, Sharon D.        $895.50         Confer with J. Wagener and C. Havens re              .20        $179.10
                                                   finalizing reply in support of motion for post-
                                                   judgment attorneys’ fees and costs.
 11/09/2020 Havens, Cassandra E.   $607.50         Finalize and oversee filing of reply in support of   .70        $425.25
                                                   fee motion (.5); review and analyze notice and
                                                   objection filed by defendants and confer with S.
                                                   Mayo regarding interest calculation (.2).
 11/10/2020 Mayo, Sharon D.        $895.50         Review order granting Receiver’ s request to         .30        $268.65
                                                   submit deal documents to purchase radio stations


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 5 of 53 Page ID
                                                  #:7260



     Date         Timekeeper       Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed   Amount
                                                  for in camera review, and Receiver’ s opposition
                                                  to Stolz’ s purported satisfaction of judgment, and
                                                  confer with J. Wagener and R. Reimer re strategy
                                                  and proposed response re same.
 11/10/2020 Havens, Cassandra E.   $607.50        Confer with team regarding satisfaction and           .30           $182.25
                                                  court’ s order (.2); review objection filed by
                                                  receiver (.1).
 11/18/2020 Mayo, Sharon D.        $895.50        Confer with J. Wagener re hearing on attorneys’       .10           $89.55
                                                  fees motion, and email Judge Bernal’ s clerk re
                                                  hearing logistics.
 11/19/2020 Mayo, Sharon D.        $895.50        Emails with Judge Bernal’ s clerk and J. Wagener      .10           $89.55
                                                  re status of hearing on motion for attorneys’ fees
                                                  and costs.
 11/20/2020 Havens, Cassandra E.   $607.50        Review order granting costs and fees and confer       .10           $60.75
                                                  with team regarding next steps.
 11/20/2020 Mayo, Sharon D.        $895.50        Consider strategy for amending judgment and           .40           $358.20
                                                  steps for possible release of funds (.2), and
                                                  confer with J. Wagener re same (.2).
 11/20/2020 Mayo, Sharon D.        $895.50        Review order granting motion for attorneys’ fees      .20           $179.10
                                                  and costs and confer with J. Wagener and R.
                                                  Reimer re same.
 11/23/2020 Mayo, Sharon D.        $895.50        Review motion to enforce purported settlement         .40           $358.20
                                                  agreement (.3) and confer with J. Wagener re
                                                  opposition and strategy (.1).
 11/23/2020 Havens, Cassandra E.   $607.50        Review motion to enforce settlement agreement         .90           $546.75
                                                  (.7) and confer with team (.2).
 11/24/2020 Havens, Cassandra E.   $607.50        Research judgment procedures and obtaining            1.40          $850.50
                                                  funds held by court (.5); draft second amended
                                                  judgment (.9).
 11/25/2020 Mayo, Sharon D.        $895.50        Review research on adding Ninth Circuit fees to       .50           $447.75
                                                  amended judgment in district court (.2), revise
                                                  draft second amended judgment (.2), and confer


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 6 of 53 Page ID
                                                  #:7261



     Date         Timekeeper       Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed   Amount
                                                  with J. Wagener and C. Havens re same and
                                                  release of funds on deposit with the court (.1).
 11/29/2020 Havens, Cassandra E.   $607.50        Cite check, proofread, and revise opposition to     1.60          $972.00
                                                  motion to enforce settlement.
 11/29/2020 Mayo, Sharon D.        $895.50        Revise draft opposition to Defendants’ motion to    .70           $626.85
                                                  enforce settlement (.6), and confer with J.
                                                  Wagener and R. Reimer re same (.1).
 11/30/2020 Mayo, Sharon D.        $895.50        Further revisions to opposition to motion to        .50           $447.75
                                                  enforce settlement and supporting declaration,
                                                  revisions to draft second amended judgment, and
                                                  confer with J. Wagener, R. Reimer and C.
                                                  Havens re same.
 11/30/2020 Havens, Cassandra E.   $607.50        Revise and finalize opposition to motion to         2.80          $1,701.00
                                                  enforce settlement, Mayo declaration, and
                                                  supporting exhibits and arrange for filing (1.8);
                                                  research judgment issue and revise second
                                                  amended judgment (1.0).
 12/01/2020 Mayo, Sharon D.        $895.50        Confer with C. Havens re submission of Second       .20           $179.10
                                                  Amended Judgment, and confer with J. Wagener
                                                  re timing and process for obtaining release of
                                                  funds from the Court.
 12/01/2020 Havens, Cassandra E.   $607.50        Revise Second Amended Judgment (.6), confer         1.00          $607.50
                                                  with S. Mayo regarding same (.1), and arrange
                                                  for filing (.3).
 12/02/2020 Mayo, Sharon D.        $895.50        Confer with C. Havens re process for release of     .40           $358.20
                                                  funds from court, and confer with J. Wagener
                                                  and R. Reimer re Adli renewed suggestion for
                                                  global settlement.
 12/02/2020 Havens, Cassandra E.   $607.50        Contact court clerk and courtroom deputy            .30           $182.25
                                                  regarding process for release of funds held by
                                                  court.



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 7 of 53 Page ID
                                                  #:7262



    Date       Timekeeper           Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed Amount
 12/03/2020 Mayo, Sharon D.        $895.50         Telephone conference with D. Adli re stipulation      .30         $268.65
                                                   to release funds held by court and defendants’
                                                   desire for global settlement, and emails with J.
                                                   Wagener re same.
 12/08/2020 Havens, Cassandra E.   $607.50         Review reply in support of motion to enforce the      .20        $121.50
                                                   settlement agreement.
 12/17/2020 Mayo, Sharon D.        $895.50         Review briefing on Defendants’ motion to              .30        $268.65
                                                   enforce settlement, and prepare for oral
                                                   argument.
 12/18/2020 Havens, Cassandra E.   $607.50         Prepare for and attend call regarding upcoming        .50        $303.75
                                                   motion hearing (.4); review order on motion and
                                                   confer with team (.1).
 12/18/2020 Mayo, Sharon D.        $895.50         Review Judge Bernal’ s order denying                  .20        $179.10
                                                   Defendants’ motion to enforce settlement and
                                                   confer with J. Wagener and R. Reimer re same.
 12/18/2020 Mayo, Sharon D.        $895.50         Review briefing and settlement negotiation            1.10       $985.05
                                                   emails to prepare for hearing on Defendants’
                                                   motion to enforce settlement (.7), and confer
                                                   with J. Wagener and C. Havens re same (.4).
 12/28/2020 Watson, Laura E.       $607.50         Examine fee calculation sheet for post-judgment       .20        $121.50
                                                   costs and fees.
 12/29/2020 Mayo, Sharon D.        $895.50         Confer with C. Havens re D. Adli request re           .20        $179.10
                                                   calculation of amount due on amended judgment.
 12/29/2020 Watson, Laura E.       $607.50         Revise calculations for accrued interest on post-     .80        $486.00
                                                   judgment costs and fees from 12/1/20 (.6); confer
                                                   with C. Havens and S. Mayo re same (.2).
 12/31/2020 Mayo, Sharon D.        $895.50         Review Defendants’ request to deposit second          .10        $89.55
                                                   amended judgment amount with the court.
 01/04/2021 Watson, Laura E.       $706.50         Confirm recent calculations re post-judgment          .50        $353.25
                                                   interest amount (.2); email to S. Mayo re next
                                                   steps (.2); examine court’ s notice of deficiencies



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 8 of 53 Page ID
                                                  #:7263



     Date         Timekeeper      Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed   Amount
                                                 re defendants’ request to deposit funds for the
                                                 second amended judgment amount (.1).
 01/12/2021 Mayo, Sharon D.      $976.50         Review Receiver’ s renewed ex parte application     .10           $97.65
                                                 for contempt against E. Stolz.
 01/12/2021 Mayo, Sharon D.      $976.50         Review D. Adli email requesting stipulation to      .20           $195.30
                                                 terminate receivership, confer with J. Wagener re
                                                 same and confer with R. Miller re request for
                                                 contempt.
 01/12/2021 Watson, Laura E.     $706.50         Examine receiver’ s ex parte application for        .40           $282.60
                                                 contempt against E. Stolz and accompanying
                                                 documents (.2); confer with S. Mayo re next
                                                 steps (.2).
 01/13/2021 Mayo, Sharon D.      $976.50         Review voice mail from D. Adli, confer with J.      .30           $292.95
                                                 Wagener re same, and respond by email to Adli
                                                 (.1), review Second Amended Judgment (.1), and
                                                 Adli opposition to ex parte application for
                                                 contempt (.1).
 01/14/2021 Mayo, Sharon D.      $976.50         Review Order directing defendants to deposit        .20           $195.30
                                                 with the Court amount of Second Amended
                                                 Judgment, and emails re correct interest
                                                 calculation.
 01/14/2021 Watson, Laura E.     $706.50         Examine order directing defendants to deposit       .90           $635.85
                                                 second amended judgment amount (.1); review
                                                 and analyze practice guides re calculation of
                                                 post-judgment interest (.5); calculate post-
                                                 judgment interest for second amended judgment
                                                 (.3).
 01/15/2021 Mayo, Sharon D.      $976.50         Review Receiver’ s status report and defendants’    .20           $195.30
                                                 response thereto.
 01/15/2021 Mayo, Sharon D.      $976.50         Emails and telephone conference with D. Adli re     .30           $292.95
                                                 meet and confer re Defendants’ planned motion



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 9 of 53 Page ID
                                                  #:7264



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed   Amount
                                                 for an injunction, and confer with J. Wagener
                                                 and R. Reimer re same.
 01/19/2021 Mayo, Sharon D.      $976.50         Review and respond to D. Adli email re interest       .30           $292.95
                                                 calculation and judgment amount, and confer
                                                 with J. Wagener re same.
 01/19/2021 Mayo, Sharon D.      $976.50         Review the Receiver’ s updated status report and      .10           $97.65
                                                 confer with J. Wagener re same.
 01/19/2021 Watson, Laura E.     $706.50         Review receiver’ s updated status report of           .10           $70.65
                                                 Stolz’ s conduct.
 01/20/2021 Mayo, Sharon D.      $976.50         Review order setting hearing on contempt              .10           $97.65
                                                 application and directing Receiver to submit a
                                                 pre-hearing report.
 01/22/2021 Mayo, Sharon D.      $976.50         Review Defendants’ notice regarding deposit of        .10           $97.65
                                                 funds in amount of second amended judgment,
                                                 and confer with J. Wagener re same and hearing
                                                 on contempt motion.
 01/25/2021 Mayo, Sharon D.      $976.50         Review declaration of Defendants’ FCC counsel         .20           $195.30
                                                 and D. Alpert and attachments in opposition to
                                                 contempt motion.
 01/26/2021 Watson, Laura E.     $706.50         Examine receiver’ s declaration re Stolz’ s           .20           $141.30
                                                 violations of court orders, report identifying such
                                                 violations, and accompanying exhibits.
 01/26/2021 Mayo, Sharon D.      $976.50         Review Receiver’ s report for contempt hearing        .20           $195.30
                                                 identifying E. Stolz’ s violations of court orders.
 01/27/2021 Mayo, Sharon D.      $976.50         Confer with J. Wagener re strategy for hearing        .20           $195.30
                                                 on Receiver’ s motion to hold E. Stolz in
                                                 contempt.
 01/28/2021 Mayo, Sharon D.      $976.50         Prepare for and participate in hearing on             1.00          $976.50
                                                 Receiver’ s motion for contempt (.8), and
                                                 summarize same for J. Wagener and R. Reimer
                                                 (.2).



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 10 of 53 Page ID
                                                   #:7265



    Date        Timekeeper         Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed Amount
 01/29/2021 Watson, Laura E.      $706.50         Examine receiver’ s proposed order declaring        .20         $141.30
                                                  Stolz in contempt and imposing sanctions ad
                                                  court’ s minute order re same.
 01/29/2021 Mayo, Sharon D.       $976.50         Obtain and review Receiver’ s proposed contempt     .20        $195.30
                                                  order and the Court’ s final contempt order, and
                                                  confer with J. Wagener re same.
 02/01/2021 Mayo, Sharon D.       $976.50         Review E. Stolz declaration re compliance with      .20        $195.30
                                                  contempt order and Receiver’ s response thereto.
 02/01/2021 Watson, Laura E.      $706.50         Examine Stolz declaration of compliance on          .20        $141.30
                                                  motion for contempt and accompanying exhibits,
                                                  and receiver’ s opposition to same.
 02/02/2021 Mayo, Sharon D.       $976.50         Telephone conferences with deputy clerk to          .20        $195.30
                                                  Judge Bernal re information for E. Stolz arrest
                                                  warrant.
 02/02/2021 Mayo, Sharon D.       $976.50         Review reply in support of Defendants’              .10        $97.65
                                                  purported compliance with Court order.
 02/02/2021 Mayo, Sharon D.       $976.50         Review and respond to meet and confer email         .30        $292.95
                                                  from D. Adli re threatened ex parte application
                                                  for an injunction, and emails with J. Wagener
                                                  and counsel for the Receiver re same.
 02/03/2021 Mayo, Sharon D.       $976.50         Review D. Adli email re motion to terminate         .30        $292.95
                                                  receivership and request for satisfaction of
                                                  judgment, review motion and confer with J.
                                                  Wagener re same, and review bench warrant.
 02/03/2021 Watson, Laura E.      $706.50         Review docket entry re defendants’ payment          .30        $211.95
                                                  deposit of second amended judgment amount;
                                                  warrant for Stolz’ s arrest; and notice of motion
                                                  and motion to discharge the receiver, and
                                                  accompanying declarations.
 02/04/2021 Mayo, Sharon D.       $976.50         Telephone conference with Marshal’ s service re     .50        $488.25
                                                  their request for information for bench warrant
                                                  (.1), locate information and fill out information


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 11 of 53 Page ID
                                                   #:7266



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med         Time Billed   Amount
                                                 form for warrant (.3), telephone conference and
                                                 emails with J. Wagener(.1).
 02/05/2021 Mayo, Sharon D.       $976.50        Review D. Adli email re purported satisfaction of    .20           $195.30
                                                 judgment, and emails with J. Wagener re same.
 02/10/2021 Mayo, Sharon D.       $976.50        Review Receiver’ s status report on compliance       .20           $195.30
                                                 with Court’ s contempt order, and confer with J.
                                                 Wagener re same.
 02/10/2021 Watson, Laura E.      $706.50        Coordinate ordering and delivery of transcript for   .60           $423.90
                                                 contempt motion hearing (.3); examine
                                                 defendants’ status report of compliance with
                                                 court’ s contempt and self-surrender order (.3).
 02/11/2021 Mayo, Sharon D.       $976.50        Revise draft opposition to motion to terminate       1.50          $1,464.75
                                                 receivership (1.1), and telephone conferences and
                                                 emails with J. Wagener re same and re issue of
                                                 satisfaction of judgment (.4).
 02/11/2021 Mayo, Sharon D.       $976.50        Review Royce notice of appeal of Second              .10           $97.65
                                                 Amended Judgment.
 02/12/2021 Mayo, Sharon D.       $976.50        Final revisions to opposition to motion to           .30           $292.95
                                                 terminate Receivership, and confer with L.
                                                 Watson re filing same.
 02/12/2021 Mayo, Sharon D.       $976.50        Review Royce response to Receiver’ s status          .10           $97.65
                                                 report on compliance with contempt order.
 02/12/2021 Watson, Laura E.      $706.50        Examine plaintiffs’ notice of appeal of second       .20           $141.30
                                                 amended judgment and reply to receiver’ s report
                                                 of noncompliance.
 02/12/2021 Watson, Laura E.      $706.50        Finalize plaintiff’ s opposition to motion to        1.10          $777.15
                                                 discharge the receiver, S. Mayo declaration, and
                                                 exhibits (.7); coordinate filing of same (.2);
                                                 confer re logistics for transcript of contempt
                                                 motion hearing. (.2)
 02/15/2021 Watson, Laura E.      $706.50        Examine receiver’ s opposition to defendants’        .10           $70.65
                                                 motion to discharge the receiver.


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 12 of 53 Page ID
                                                   #:7267



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med         Time Billed Amount
 02/16/2021 Mayo, Sharon D.       $976.50         Review Bellaire opposition to motion to              .10         $97.65
                                                  terminate Receivership.
 02/16/2021 Watson, Laura E.      $706.50         Examine Bellaire Tower HOA’ s joinder and            .10        $70.65
                                                  opposition to motion to terminate receivership.
 02/16/2021 Mayo, Sharon D.       $976.50         Telephone conference with U.S. Marshal re            .10        $97.65
                                                  location of E. Stolz.
 02/17/2021 Mayo, Sharon D.       $976.50         Review order imposing fine against Stolz for         .10        $97.65
                                                  non-compliance with contempt order.
 02/17/2021 Watson, Laura E.      $706.50         Review order regarding imposition of fine upon       .10        $70.65
                                                  finding of contempt and noncompliance.
 02/18/2021 Mayo, Sharon D.       $976.50         Review and respond to court request re status        .50        $488.25
                                                  conference re E. Stolz contempt (.1), confer with
                                                  J. Wagener re same (.2), confer with Deputy
                                                  Marshal re E. Stolz surrender (.1), and confer
                                                  with counsel for receiver re status conference
                                                  (.1).
 02/18/2021 Mayo, Sharon D.       $976.50         Review and respond to D. Adli meet and confer        .20        $195.30
                                                  email re threatened sanctions motion, and confer
                                                  with J. Wagener re same.
 02/19/2021 Mayo, Sharon D.       $976.50         Participate in two status conferences re E. Stolz    1.40       $1,367.10
                                                  contempt of court, and conferences with counsel
                                                  for the Receiver re same.
 02/19/2021 Watson, Laura E.      $706.50         Attend status conference and telephonic check-in     3.70       $2,614.05
                                                  (1.5); confer with S. Mayo re same (.1); prepare
                                                  summary of proceedings for J. Wagener and R.
                                                  Reimer (2.0); confer with K. Jensen re status of
                                                  transcript order from contempt proceedings (.1).
 02/22/2021 Mayo, Sharon D.       $976.50         Review Royce reply in support of motion to           .20        $195.30
                                                  discharge the receiver and terminate the
                                                  receivership.
 02/23/2021 Watson, Laura E.      $706.50         Examine receiver’ s request for transcript of Feb.   .10        $70.65
                                                  19 proceedings.


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 13 of 53 Page ID
                                                   #:7268



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med           Time Billed Amount
 02/24/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s brief re authority of Court to      .20         $195.30
                                                  order Stolz to cease interference with FCC
                                                  transfer of licenses, and review Stolz objections
                                                  to proposed order holding Stolz in contempt of
                                                  court.
 02/24/2021 Mayo, Sharon D.       $976.50         Appear for further status conference re E. Stolz       1.10       $1,074.15
                                                  contempt (.7), and prepare summary and
                                                  recommendation for J. Wagener (.4).
 02/24/2021 Watson, Laura E.      $706.50         Review receiver’ s submission re Stolz’s ability       .40        $282.60
                                                  to interfere in FCC proceedings, defendants’
                                                  objections to receiver’ s proposed order re
                                                  contempt of court, and other February 24 filings
                                                  (.2); confer with S. Mayo re today’ s hearing (.2).
 02/25/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s report on Stolz efforts to          .10        $97.65
                                                  interfere with receivership.
 02/26/2021 Mayo, Sharon D.       $976.50         Review L. Watson report on further contempt            .20        $195.30
                                                  hearing and Court’ s orders from hearing.
 02/26/2021 Watson, Laura E.      $706.50         Attend further status conference (2.8); confer         5.60       $3,956.40
                                                  with S. Mayo re same (.2); prepare summary for
                                                  J. Wagener and R. Reimer re same (2.5);
                                                  examine minutes of status conference and minute
                                                  order (.1).
 03/01/2021 Watson, Laura E.      $706.50         Examine defendants’ response to receiver’ s brief      .10        $70.65
                                                  re interference in FCC proceedings and sale.
 03/01/2021 Mayo, Sharon D.       $976.50         Review Defendants’ brief re FCC issues.                .10        $97.65
 03/03/2021 Mayo, Sharon D.       $976.50         Consider strategy for hearing on motion to             .20        $195.30
                                                  terminate receivership, and confer with J.
                                                  Wagener re same.
 03/03/2021 Watson, Laura E.      $706.50         Examine Mar. 3 filings from defendants and             .20        $141.30
                                                  interested party VCY America.
 03/04/2021 Mayo, Sharon D.       $976.50         Prepare for and participate in strategy call with J.   .80        $781.20
                                                  Wagener and R. Reimer re hearing on


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 14 of 53 Page ID
                                                   #:7269



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed   Amount
                                                 Defendants’ motion to terminate the
                                                 receivership.
 03/04/2021 Watson, Laura E.      $706.50        Review receiver’ s latest status report, D. Kelly     .40           $282.60
                                                 declaration re Bellaire judgment, and scheduling
                                                 notice resetting Mar. 8 hearing to Mar. 10.
 03/05/2021 Mayo, Sharon D.       $976.50        Review receiver’ s supplemental status report to      .20           $195.30
                                                 the Court.
 03/05/2021 Watson, Laura E.      $706.50        Review receiver’ s supplement to report re Stolz’ s   .20           $141.30
                                                 perjury and contempt and defendants’ response.
 03/08/2021 Mayo, Sharon D.       $976.50        Confer with J. Wagener re hearing on motion to        .10           $97.65
                                                 discharge the receiver.
 03/08/2021 Watson, Laura E.      $706.50        Review supplemental D. Kelly declaration re           .10           $70.65
                                                 Bellaire’ s ownership of antenna structure.
 03/09/2021 Mayo, Sharon D.       $976.50        Review Receiver’ s supplemental report, and           .40           $390.60
                                                 confer with J. Wagener re hearing on motion to
                                                 terminate receivership and contempt motion, and
                                                 prepare for hearing.
 03/09/2021 Watson, Laura E.      $706.50        Review second supplement to receiver’ s report re     .20           $141.30
                                                 Stolz perjury and contempt.
 03/10/2021 Mayo, Sharon D.       $976.50        Prepare for and attend hearing on Defendants’         1.70          $1,660.05
                                                 motion to discharge the receiver, terminate the
                                                 receiver, and enjoin sale of radio stations.
 03/10/2021 Watson, Laura E.      $706.50        Confer with S. Mayo re Mar. 10 hearing (.1);          1.20          $847.80
                                                 attend hearing (.6); coordinate transcript request
                                                 for Feb. 26 hearing and delivery of transcript for
                                                 Jan. 28 hearing (.5).
 03/11/2021 Mayo, Sharon D.       $976.50        Review receiver’ s status report, and review          .40           $390.60
                                                 minutes of hearing on motion to terminate
                                                 receivership.
 03/11/2021 Watson, Laura E.      $706.50        Review defendants’ status report, court’ s minutes    .40           $282.60
                                                 order of Mar. 10 hearing, and other Mar. 11
                                                 filings.


US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 15 of 53 Page ID
                                                   #:7270



    Date        Timekeeper         Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed Amount
 03/12/2021 Watson, Laura E.      $706.50         Confer re Jan. 28 hearing transcript.               .10         $70.65
 03/15/2021 Watson, Laura E.      $706.50         Review transcript for Feb. 26 hearing (.2); email   .40         $282.60
                                                  to S. Mayo re same (.2).
 03/17/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener and R. Reimer re             .20        $195.30
                                                  potential stipulation to release funds from the
                                                  Court.
 03/18/2021 Mayo, Sharon D.       $976.50         Emails re potential stipulation to release funds    .10        $97.65
                                                  from the Court.
 03/19/2021 Watson, Laura E.      $706.50         Review minute order denying defendants’             .20        $141.30
                                                  motion to discharge receiver.
 03/19/2021 Mayo, Sharon D.       $976.50         Review Judge Bernal’ s order denying motion to      .30        $292.95
                                                  terminate receivership, consider next steps, and
                                                  calculate further fees incurred pursuing
                                                  judgment.
 03/19/2021 Mayo, Sharon D.       $976.50         Telephone conference with J. Wagener and R.         .40        $390.60
                                                  Reimer re strategy regarding Defendants’ offer to
                                                  stipulate to release of funds, and Defendants’
                                                  latest appeal.
 03/22/2021 Mayo, Sharon D.       $976.50         Review J. Wagener summary of meet and confer        .10        $97.65
                                                  with D. Adli.
 03/22/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re strategy for release of   .20        $195.30
                                                  funds with the Court.
 03/26/2021 Watson, Laura E.      $706.50         Review defendants’ transcript order and attached    .10        $70.65
                                                  court order allowing transcripts for sealed
                                                  proceedings.
 03/26/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re potential fee motion,     .10        $97.65
                                                  and follow-up to discussion with D. Adli re
                                                  stipulating to release funds deposited with the
                                                  Court.
 04/01/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re Defendants’ refusal to    .40        $390.60
                                                  pay attorneys’ fees incurred after last judgment.



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 16 of 53 Page ID
                                                   #:7271



    Date        Timekeeper         Hour ly Rate           Descr iption of Ser vices Per for med         Time Billed Amount
 04/01/2021 Watson, Laura E.      $706.50         Examine Oct. 20, 2020 attorneys’ fees and costs       .30         $211.95
                                                  motion and supporting materials (.2); confer with
                                                  S. Mayo re strategy for second attorney fees and
                                                  costs motion (.1).
 04/02/2021 Watson, Laura E.      $706.50         Prepare accounting of attorneys’ fees and costs       5.8        $4,097.70
                                                  for motion exhibits (1.6); confer with S. Mayo re
                                                  same (.2); prepare draft second motion for
                                                  attorneys’ fees and costs (4.0).
 04/03/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       4.90       $3,461.85
                                                  and costs.
 04/04/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       2.50       $1,766.25
                                                  and costs.
 04/05/2021 Mayo, Sharon D.       $976.50         Revise draft second motion for attorneys’ fees        .90        $878.85
                                                  and costs.
 04/05/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       .70        $494.55
                                                  and costs (.3); prepare email to S. Mayo re draft
                                                  (.2); review S. Mayo’ s revisions to same (.2).
 04/06/2021 Mayo, Sharon D.       $976.50         Draft declarations in support of second motion        1.20       $1,171.80
                                                  for attorneys’ fees and review J. Wagener edits to
                                                  brief.
 04/06/2021 Watson, Laura E.      $706.50         Finalize draft of second motion for attorneys’        1.40       $989.10
                                                  fees and costs (.5); prepare email to J. Wagener
                                                  and R. Reimer re same (.2); confer re instructions
                                                  for preparation of attorneys’ fees and costs charts
                                                  for exhibits (.7).
 04/07/2021 Mayo, Sharon D.       $976.50         Draft and revise declarations in support of           2.70       $2,636.55
                                                  second motion for attorneys’ fees, including
                                                  review of time entries on exhibits to declarations,
                                                  and make further revisions to brief (2.4),
                                                  including emails with J. Wagener and L. Watson
                                                  to coordinate same (.3).



US 169592761v4
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 17 of 53 Page ID
                                                   #:7272



    Date        Timekeeper         Hour ly Rate          Descr iption of Ser vices Per for med         Time Billed Amount
 04/07/2021 Watson, Laura E.      $706.50         Revise second motion for attorneys’ fees and         3.20        $2,260.80
                                                  costs, supporting declaration, and exhibits (2.8);
                                                  draft proposed order (.2); confer with S. Mayo re
                                                  same (.2).
 04/08/2021 Mayo, Sharon D.       $976.50         Further review and revision to second motion for     1.10        $1,074.15
                                                  attorneys’ fees and supporting declarations and
                                                  exhibits (.8); and conferences with J. Wagener,
                                                  R. Reimer and L. Watson re same (.3).
 04/08/2021 Watson, Laura E.      $706.50         Revise second motion for post-judgment costs         1.40        $989.10
                                                  and fees and supporting declarations (.7);
                                                  research electronic signature requirements (.2);
                                                  confer with S. Mayo, J. Wagener and R. Reimer
                                                  re same (.2); prepare memorandum of costs (.3).
                                                                                                    TOTAL HOURS: 92.4
                                                                                               TOTAL AM OUNT: $89,467.20




US 169592761v4
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 18 of 53 Page ID
                                  #:7273




                           EXHI BI T B
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 19 of 53 Page ID
                                                   #:7274



 Date       Cost Descr iption    Billed Amt   Nar r ative
 10/15/2020 Duplicating          $0.60        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 6
 10/15/2020 Duplicating          $1.10        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 11
 10/15/2020 Duplicating          $9.30        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 93
 10/15/2020 Duplicating          $2.50        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 25
 10/15/2020 Duplicating          $15.40       Print Job made on 20201015 by 28340 Vicky Apodaca TOTAL PAGES 154
 10/15/2020 Duplicating          $0.70        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 7
 10/15/2020 Duplicating          $0.60        Print Job made on 10152020 at LA-Xerox-4564-01-printer0 by Maria Flores
                                              TOTAL PAGES: 6
 10/21/2020 Duplicating          $2.40        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 24
 10/21/2020 Duplicating          $0.60        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 6
 10/21/2020 Duplicating          $0.60        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 6
 10/21/2020 Duplicating          $9.30        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 93
 10/21/2020 Duplicating          $0.80        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 8
 10/21/2020 Duplicating          $0.60        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 6
 10/21/2020 Duplicating          $1.10        Print Job made on 10212020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 11
 11/09/2020 Duplicating          $1.10        Print Job made on 11092020 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 11
 02/16/2021 Duplicating          $0.60        Print Job made on 02162021 at LA-Xerox-Color-4564-01-printer0 by
                                              Guillermo Castro TOTAL PAGES: 6



US 169592019v2
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 20 of 53 Page ID
                                                   #:7275



 Date       Cost Descr iption       Billed Amt   Nar r ative
 02/16/2021 Duplicating             $0.80        Print Job made on 02162021 at LA-Xerox-Color-4564-01-printer0 by
                                                 Guillermo Castro TOTAL PAGES: 8
 02/16/2021 Duplicating             $1.40        Print Job made on 20210216 by 28192 Rebecca McNew TOTAL PAGES: 14
            Duplicating Total       $49.50

 Date       Cost Descr iption       Billed Amt   Nar r ative
 10/15/2020 Air Delivery Services   $9.73        VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905420
                                                 DATE: 10/17/20 Tracking# 1ZFA29050195766825 Shipment Date: 20201015
                                                 Sender: Michael Varbedian Arnold & Porter, 777 South Figueroa Street, Los
                                                 Angeles, CA 90017 Ship to: Judge Bernal, US District Court-Central District,
                                                 3470 12th St., Riverside, CA 92501
 10/19/2020 Air Delivery Services   $9.73        VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905430
                                                 DATE: 10/24/20 Tracking# 1ZFA29050191496062 Shipment Date: 20201019
                                                 Sender: Guadalupe Saldana Arnold & Porter, 777 South Figueroa Street, Los
                                                 Angeles, CA 90017 Ship to: Hon. Jesus Bernal, US District Court-Central
                                                 District, 3470 12th St., Riverside, CA 92501
 10/20/2020 Air Delivery Services   $12.94       VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905430
                                                 DATE: 10/24/20 Tracking# 1ZFA29050191424291 Shipment Date: 20201020
                                                 Sender: Vicky Apodaca Arnold & Porter, 777 South Figueroa Street, Los
                                                 Angeles, CA 90017 Ship to: Judge Jesus G. Bernal, US District Court-Central
                                                 District, Attn: Courtroom 1, Riverside, CA 92501
 10/22/2020 Air Delivery Services   $9.73        VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905430
                                                 DATE: 10/24/20 Tracking# 1ZFA29050197704487 Shipment Date: 20201022
                                                 Sender: Guadalupe Saldana Arnold & Porter, 777 South Figueroa Street, Los
                                                 Angeles, CA 90017 Ship to: Hon. Jesus Bernal, US District Court-Central
                                                 District, 3470 12th St., Riverside, CA 92501
 11/09/2020 Air Delivery Services   $9.72        VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905460
                                                 DATE: 11/14/20 Tracking# 1ZFA29050193044395 Shipment Date: 20201109
                                                 Sender: Rebecca McNew Arnold & Porter, 777 South Figueroa Street, Los
                                                 Angeles, CA 90017 Ship to: Judge Jesus Bernal, US District Court-Central
                                                 District, 3470 12th St., Riverside, CA 92501



                                             2
US 169592019v2
                   Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 21 of 53 Page ID
                                                     #:7276



 Date       Cost Descr iption          Billed Amt    Nar r ative
 11/30/2020 Air Delivery Services      $9.53         VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905490
                                                     DATE: 12/05/20 Tracking# 1ZFA29051392832263 Shipment Date: 20201130
                                                     Sender: Vicky Apodaca Arnold & Porter, 777 South Figueroa Street, Los
                                                     Angeles, CA 90017 Ship to: Judge Jesus G. Bernal, US District Court-Central
                                                     District, Attn: Courtroom 1-CHAMBER COPIES, Riverside, CA 92501
 02/16/2021 Air Delivery Services      $10.22        VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905081
                                                     DATE: 02/20/21 Tracking# 1ZFA29050193204999 Shipment Date: 20210216
                                                     Sender: Rebecca McNew Arnold & Porter, 777 South Figueroa Street, Los
                                                     Angeles, CA 90017 Ship to: Judge Jesus G. Bernal, USDC Central District of
                                                     CA, 3470 12th St., Riverside, CA 92501
 03/11/2021 Air Delivery Services      $1.41         VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905121
                                                     DATE: 03/20/21 Tracking# 1ZFA29050297748849 Shipment Date: 20210311
                                                     Sender: Laura Watson Arnold & Porter, 777 South Figueroa Street, Los
                                                     Angeles, CA 90017 Ship to: Phyllis Preston, United States District Court, 3470
                                                     12th St., Riverside, CA 92501
 03/11/2021 Air Delivery Services      $9.45         VENDOR: UPS-United Parcel Service, Inc., INVOICE #: 000000FA2905121
                                                     DATE: 03/20/21 Tracking# 1ZFA29050297748849 Shipment Date: 20210311
                                                     Sender: Laura Watson Arnold & Porter, 777 South Figueroa Street, Los
                                                     Angeles, CA 90017 Ship to: Phyllis Preston, United States District Court, 3470
                                                     12th St., Riverside, CA 92501
                 Air Deliver y         $82.46
                 Ser vices Total

 Date       Cost Descr iption          Billed Amt    Nar r ative
 02/12/2021 Transcripts                $102.00       VENDOR: Phyllis A. Preston INVOICE # 02112021 DATE: 2/11/21 Client
                                                     Charges, Transcription of 1/28/2021 hearing., Laura Watson, 02/11/21
 03/11/2021 Transcripts                $ 74.70       VENDOR: Phyllis A. Preston INVOICE # 031021 DATE: 3/10/2021 Client
                                                     Charges, Transcription of 2/26/2021 hearing., Laura Watson, 03/10/21
                 Tr anscr ipts Total   $176.70

                 Gr and Total          $308.66


                                                 3
US 169592019v2
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 22 of 53 Page ID
                                  #:7277




                           EXHI BI T C
          Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 23 of 53 Page ID
                                            #:7278
                                                                                                                                              MC-012
ATTORNEY OR PARTY WITHOUT ATTORNEY                       STATE BAR NUMBER:  150469                             FOR COURT USE ONLY
NAME:  Sharon D. Mayo
FIRM NAME: ARNOLD & PORTER KAYE SCHOLER LLP
STREET ADDRESS: Three Embarcadero Center, 10th Floor
CITY: San Francisco                                     STATE: CA      ZIP CODE: 94111
TELEPHONE NO.: (415) 471-3100                          FAX NO.: (415) 471-3400
E-MAIL ADDRESS: sharon.mayo@arnoldporter.com
ATTORNEY FOR (name): Plaintiffs W.B. Music Corp., et al.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF U.S. DISTRICT COURT, C.D. CAL.
 STREET ADDRESS:     3740 Twelfth Street
 MAILING ADDRESS:    Same
CITY AND ZIP CODE:   Riverside, CA 92501-3801
      BRANCH NAME:   Eastern Division
     PLAINTIFF: W.B. Music Corp., et al.
DEFENDANT: Royce International Broadcasting Corp., et al.

 MEMORANDUM OF COSTS AFTER JUDGMENT, ACKNOWLEDGMENT OF CASE NUMBER:
                                                       5:16-cv-00600-JGB(SPx)
       CREDIT, AND DECLARATION OF ACCRUED INTEREST
1.          Postjudgment costs
      a. I claim the following costs after judgment incurred within the last two years (indicate if there are multiple items in any category):
                                                                                           Dates Incurred                      Amount
         (1) Preparing and issuing abstract of judgment                                                             $
         (2) Recording and indexing abstract of judgment                                                            $
         (3) Filing notice of judgment lien on personal property                                                    $
         (4) Issuing writ of execution, to extent not satisfied by Code Civ. Proc.,                                 $
               § 685.050 (specify county):
         (5) Levying officers fees, to extent not satisfied by Code Civ. Proc.,                                     $
               § 685.050 or wage garnishment
         (6) Approved fee on application for order for appearance of judgment                                       $
               debtor, or other approved costs under Code Civ. Proc., § 708.110
               et seq.
         (7) Attorney fees, if allowed by Code Civ. Proc., § 685.040                                                $                107,523.20
         (8) Other: reason. & necess. costs (Statute authorizing cost): § 655.040, § 685.080                        $                    308.66
         (9) Total of claimed costs for current memorandum of costs (add items (1)–(8))                             $                107,831.86
      b. All previously allowed postjudgment costs                                                                  $                230,178.50
      c. Total of all postjudgment costs (add items a and b)                                                        $                338,010.36
2.          Credits to interest and principal
      a. I acknowledge total payments to date in the amount of: $               (including returns on levy process and direct payments).
         The payments received are applied first to the amount of accrued interest, and then to the judgment principal (including
         postjudgment costs allowed) as follows: credit to accrued interest: $              ; credit to judgment principal $               .
      b. Principal remaining due: The amount of judgment principal remaining due is $                     . (See Code Civ. Proc., § 680.300)
3.        Accrued interest remaining due: I declare interest accruing (at the legal rate) from the date of entry or renewal and on
          balances from the date of any partial satisfactions (or other credits reducing the principal) remaining due in the amount
          of $               .
4. I am the:         judgment creditor               agent for the judgment creditor               attorney for the judgment creditor.
    I have knowledge of the facts concerning the costs claimed above. To the best of my knowledge and belief, the costs claimed are
    correct, reasonable, and necessary, and have not been satisfied.
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: Apr 9, 2021
                        Sharon D. Mayo                                                       /s/ Sharon D. Mayo
                                  (TYPE OR PRINT NAME)                                             (SIGNATURE OF DECLARANT)

                                                 NOTICE TO THE JUDGMENT DEBTOR
  If this memorandum of costs is filed at the same time as an application for a writ of execution, any statutory costs, not exceeding
  $100 in aggregate and not already allowed by the court, may be included in the writ of execution. The fees sought under this
  memorandum may be disallowed by the court upon a motion to tax filed by the debtor, notwithstanding the fees having been
  included in the writ of execution. (Code Civ. Proc., § 685.070(e).) A motion to tax costs claimed in this memorandum must be filed
  within 10 days after service of the memorandum. (Code Civ. Proc., § 685.070(c).)                                                 Page 1 of 2

Form Adopted for Mandatory Use
Judicial Council of California
                                                 MEMORANDUM OF COSTS AFTER JUDGMENT,                                               Code of Civil Procedure,
                                                                                                                              §§ 685.040, 685.070, 695.220
MC-012 [Rev. September 1, 2018]                ACKNOWLEDGMENT OF CREDIT, AND DECLARATION                                                www.courts.ca.gov

                                                         OF ACCRUED INTEREST
          Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 24 of 53 Page ID
                                            #:7279
                                                                                                                                 MC-012
Short Title:       W.B. Music Corp., et al. v. Royce International Broadcasting Corp., et al.    CASE NUMBER:
                                                                                                 5:16-cv-00600-JGB(SPx)


                                                            PROOF OF SERVICE

                                                           Mail            Personal Service

1. At the time of service I was at least 18 years of age and not a party to this legal action.
2. My residence or business address is:



3.          I mailed or personally delivered a copy of the Memorandum of Costs After Judgment, Acknowledgment of Credit, and
            Declaration of Accrued Interest as follows (complete either a or b):

     a.        Mail. I am a resident of or employed in the county where the mail occurred.
          (1) I enclosed a copy in an envelope AND
              (a)        deposited the sealed envelope with the United States Postal Service with the postage fully prepaid.
              (b)        placed the envelope for collection and mailing on the date and at the place shown in items below following our
                         ordinary business practices. I am readily familiar with this business's practice for collecting and processing
                         correspondence for mailing. On the same day that correspondence is placed for collection and mailing, it is
                         deposited in the ordinary course of business with the United States Postal Service in a sealed envelope with
                         postage fully prepaid.
          (2) The envelope was addressed and mailed as follows:


                (a)   Name of person served:
                (b)   Address on envelope:
                (c)   Date of mailing:
                (d)   Place of mailing (city and state):

     b.          Personal delivery. I personally delivered a copy as follows.
          (1)   Name of person served:
          (2)   Address where delivered:
          (3)   Date delivered:
          (4)   Time delivered:

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:



                                  (TYPE OR PRINT NAME)                                             (SIGNATURE OF DECLARANT)




MC-012 [Rev. September 1, 2018]                  MEMORANDUM OF COSTS AFTER JUDGMENT,                                              Page 2 of 2

                                               ACKNOWLEDGMENT OF CREDIT, AND DECLARATION
                                                         OF ACCRUED INTEREST
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 25 of 53 Page ID
                                  #:7280




                           EXHI BI T D
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 26 of 53 Page ID
                                                   #:7281



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med        Time Billed Amount
 10/15/2020 Mayo, Sharon D.       $895.50         Emails with J. Wagener and C. Havens re filing      .10         $89.55
                                                  motion for post-judgment costs and fees.
 10/15/2020 Mayo, Sharon D.       $895.50         Review Defendants’ timeliness objection to          .20        $179.10
                                                  motion for post-judgment fees and costs, and
                                                  confer with J. Wagener re same and re emails
                                                  with D. Adli.
 10/16/2020 Mayo, Sharon D.       $895.50         Review D. Adli emails (.1), telephone conference    .80        $716.40
                                                  with J. Wagener and R. Reimer re same and re
                                                  strategy (.2), review and comment on response to
                                                  Adli (.1); revise draft response to Defendants’
                                                  objection to Plaintiffs’ motion for post-judgment
                                                  costs and fees (.4).
 10/19/2020 Mayo, Sharon D.       $895.50         Finalize response to Defendants’ timeliness         .60        $537.30
                                                  objection to Plaintiffs’ motion for post-judgment
                                                  costs and fees (.2), review D. Adli email re
                                                  payment of judgment (.1), and confer with J.
                                                  Wagener re status and strategy (.2); review
                                                  further filing by Defendants (.1).
 10/20/2020 Mayo, Sharon D.       $895.50         Review D. Adli email to J. Wagener and              .10        $89.55
                                                  comment on draft response.
 10/20/2020 Mayo, Sharon D.       $895.50         Confer with J. Wagener and C. Havens re re-         .40        $358.20
                                                  filing motion for fees and costs to avoid
                                                  Defendants’ timeliness objection (.1); prepare
                                                  notice of withdrawal (.2); confer with C. Havens
                                                  re effectuating withdrawal and re-filing (.1).
 10/21/2020 Mayo, Sharon D.       $895.50         Review Defendants’ second ex parte application      .20        $179.10
                                                  re payment of amended judgment and confer
                                                  with J. Wagener and R. Reimer re timing and
                                                  arguments for response.
 10/22/2020 Mayo, Sharon D.       $895.50         Review email from Defendants to Judge Bernal        .10        $89.55
                                                  requesting an order from the Court to deposit



US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 27 of 53 Page ID
                                                   #:7282



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed   Amount
                                                 amount of amended judgment with the Court,
                                                 and confer with J. Wagener re same.
 10/22/2020 Mayo, Sharon D.       $895.50        Revise draft opposition to defendants’ second ex      .40           $358.20
                                                 parte application and confer with team re same.
 10/30/2020 Mayo, Sharon D.       $895.50        Review Judge Bernal’ s order on defendants’ ex        .20           $179.10
                                                 parte application and confer with J. Wagener and
                                                 R. Reimer re same.
 11/02/2020 Mayo, Sharon D.       $895.50        Review Defendants’ opposition to Plaintiffs’          .40           $358.20
                                                 motion for post-judgment fees and confer with R.
                                                 Reimer and J. Wagener re same.
 11/03/2020 Mayo, Sharon D.       $895.50        Confer with C. Havens re Plaintiffs’ opposition       .20           $179.10
                                                 to fee motion, review C. Havens summary of
                                                 opposition, and forward to J. Wagener for
                                                 assistance in drafting reply.
 11/06/2020 Mayo, Sharon D.       $895.50        Review Receiver’ s request to submit deal             .10           $89.55
                                                 documents under seal.
 11/08/2020 Mayo, Sharon D.       $895.50        Review and revise draft reply in support of           .70           $626.85
                                                 motion for post-judgment fees and costs (.6), and
                                                 confer with J. Wagener and R. Reimer re same
                                                 (.1).
 11/09/2020 Mayo, Sharon D.       $895.50        Review Defendants’ purported notice of                .10           $89.55
                                                 satisfaction of amended judgment and objection
                                                 to request for leave to file document for in
                                                 camera review.
 11/09/2020 Mayo, Sharon D.       $895.50        Confer with J. Wagener and C. Havens re               .20           $179.10
                                                 finalizing reply in support of motion for post-
                                                 judgment attorneys’ fees and costs.
 11/10/2020 Mayo, Sharon D.       $895.50        Review order granting Receiver’ s request to          .30           $268.65
                                                 submit deal documents to purchase radio stations
                                                 for in camera review, and Receiver’ s opposition
                                                 to Stolz’ s purported satisfaction of judgment, and



US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 28 of 53 Page ID
                                                   #:7283



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med         Time Billed   Amount
                                                 confer with J. Wagener and R. Reimer re strategy
                                                 and proposed response re same.
 11/18/2020 Mayo, Sharon D.       $895.50        Confer with J. Wagener re hearing on attorneys’      .10           $89.55
                                                 fees motion, and email Judge Bernal’ s clerk re
                                                 hearing logistics.
 11/19/2020 Mayo, Sharon D.       $895.50        Emails with Judge Bernal’ s clerk and J. Wagener     .10           $89.55
                                                 re status of hearing on motion for attorneys’ fees
                                                 and costs.
 11/20/2020 Mayo, Sharon D.       $895.50        Consider strategy for amending judgment and          .40           $358.20
                                                 steps for possible release of funds (.2), and
                                                 confer with J. Wagener re same (.2).
 11/20/2020 Mayo, Sharon D.       $895.50        Review order granting motion for attorneys’ fees     .20           $179.10
                                                 and costs and confer with J. Wagener and R.
                                                 Reimer re same.
 11/23/2020 Mayo, Sharon D.       $895.50        Review motion to enforce purported settlement        .40           $358.20
                                                 agreement (.3) and confer with J. Wagener re
                                                 opposition and strategy (.1).
 11/25/2020 Mayo, Sharon D.       $895.50        Review research on adding Ninth Circuit fees to      .50           $447.75
                                                 amended judgment in district court (.2), revise
                                                 draft second amended judgment (.2), and confer
                                                 with J. Wagener and C. Havens re same and
                                                 release of funds on deposit with the court (.1).
 11/29/2020 Mayo, Sharon D.       $895.50        Revise draft opposition to Defendants’ motion to     .70           $626.85
                                                 enforce settlement (.6), and confer with J.
                                                 Wagener and R. Reimer re same (.1).
 11/30/2020 Mayo, Sharon D.       $895.50        Further revisions to opposition to motion to         .50           $447.75
                                                 enforce settlement and supporting declaration,
                                                 revisions to draft second amended judgment, and
                                                 confer with J. Wagener, R. Reimer and C.
                                                 Havens re same.
 12/01/2020 Mayo, Sharon D.       $895.50        Confer with C. Havens re submission of Second        .20           $179.10
                                                 Amended Judgment, and confer with J. Wagener


US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 29 of 53 Page ID
                                                   #:7284



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med        Time Billed   Amount
                                                 re timing and process for obtaining release of
                                                 funds from the Court.
 12/02/2020 Mayo, Sharon D.       $895.50        Confer with C. Havens re process for release of     .40           $358.20
                                                 funds from court, and confer with J. Wagener
                                                 and R. Reimer re Adli renewed suggestion for
                                                 global settlement.
 12/03/2020 Mayo, Sharon D.       $895.50        Telephone conference with D. Adli re stipulation    .30           $268.65
                                                 to release funds held by court and defendants’
                                                 desire for global settlement, and emails with J.
                                                 Wagener re same.
 12/17/2020 Mayo, Sharon D.       $895.50        Review briefing on Defendants’ motion to            .30           $268.65
                                                 enforce settlement, and prepare for oral
                                                 argument.
 12/18/2020 Mayo, Sharon D.       $895.50        Review Judge Bernal’ s order denying                .20           $179.10
                                                 Defendants’ motion to enforce settlement and
                                                 confer with J. Wagener and R. Reimer re same.
 12/18/2020 Mayo, Sharon D.       $895.50        Review briefing and settlement negotiation          1.10          $985.05
                                                 emails to prepare for hearing on Defendants’
                                                 motion to enforce settlement (.7), and confer
                                                 with J. Wagener and C. Havens re same (.4).
 12/29/2020 Mayo, Sharon D.       $895.50        Confer with C. Havens re D. Adli request re         .20           $179.10
                                                 calculation of amount due on amended judgment.
 12/31/2020 Mayo, Sharon D.       $895.50        Review Defendants’ request to deposit second        .10           $89.55
                                                 amended judgment amount with the court.
 01/12/2021 Mayo, Sharon D.       $976.50        Review Receiver’ s renewed ex parte application     .10           $97.65
                                                 for contempt against E. Stolz.
 01/12/2021 Mayo, Sharon D.       $976.50        Review D. Adli email requesting stipulation to      .20           $195.30
                                                 terminate receivership, confer with J. Wagener re
                                                 same and confer with R. Miller re request for
                                                 contempt.
 01/13/2021 Mayo, Sharon D.       $976.50        Review voice mail from D. Adli, confer with J.      .30           $292.95
                                                 Wagener re same, and respond by email to Adli


US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 30 of 53 Page ID
                                                   #:7285



     Date         Timekeeper      Hour ly Rate           Descr iption of Ser vices Per for med         Time Billed   Amount
                                                 (.1), review Second Amended Judgment (.1), and
                                                 Adli opposition to ex parte application for
                                                 contempt (.1).
 01/14/2021 Mayo, Sharon D.       $976.50        Review Order directing defendants to deposit          .20           $195.30
                                                 with the Court amount of Second Amended
                                                 Judgment, and emails re correct interest
                                                 calculation.
 01/15/2021 Mayo, Sharon D.       $976.50        Review Receiver’ s status report and defendants’      .20           $195.30
                                                 response thereto.
 01/15/2021 Mayo, Sharon D.       $976.50        Emails and telephone conference with D. Adli re       .30           $292.95
                                                 meet and confer re Defendants’ planned motion
                                                 for an injunction, and confer with J. Wagener
                                                 and R. Reimer re same.
 01/19/2021 Mayo, Sharon D.       $976.50        Review and respond to D. Adli email re interest       .30           $292.95
                                                 calculation and judgment amount, and confer
                                                 with J. Wagener re same.
 01/19/2021 Mayo, Sharon D.       $976.50        Review the Receiver’ s updated status report and      .10           $97.65
                                                 confer with J. Wagener re same.
 01/20/2021 Mayo, Sharon D.       $976.50        Review order setting hearing on contempt              .10           $97.65
                                                 application and directing Receiver to submit a
                                                 pre-hearing report.
 01/22/2021 Mayo, Sharon D.       $976.50        Review Defendants’ notice regarding deposit of        .10           $97.65
                                                 funds in amount of second amended judgment,
                                                 and confer with J. Wagener re same and hearing
                                                 on contempt motion.
 01/25/2021 Mayo, Sharon D.       $976.50        Review declaration of Defendants’ FCC counsel         .20           $195.30
                                                 and D. Alpert and attachments in opposition to
                                                 contempt motion.
 01/26/2021 Mayo, Sharon D.       $976.50        Review Receiver’ s report for contempt hearing        .20           $195.30
                                                 identifying E. Stolz’ s violations of court orders.




US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 31 of 53 Page ID
                                                   #:7286



    Date       Timekeeper          Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed Amount
 01/27/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re strategy for hearing      .20         $195.30
                                                  on Receiver’ s motion to hold E. Stolz in
                                                  contempt.
 01/28/2021 Mayo, Sharon D.       $976.50         Prepare for and participate in hearing on           1.00       $976.50
                                                  Receiver’ s motion for contempt (.8), and
                                                  summarize same for J. Wagener and R. Reimer
                                                  (.2).
 01/29/2021 Mayo, Sharon D.       $976.50         Obtain and review Receiver’ s proposed contempt     .20        $195.30
                                                  order and the Court’ s final contempt order, and
                                                  confer with J. Wagener re same.
 02/01/2021 Mayo, Sharon D.       $976.50         Review E. Stolz declaration re compliance with      .20        $195.30
                                                  contempt order and Receiver’ s response thereto.
 02/02/2021 Mayo, Sharon D.       $976.50         Telephone conferences with deputy clerk to          .20        $195.30
                                                  Judge Bernal re information for E. Stolz arrest
                                                  warrant.
 02/02/2021 Mayo, Sharon D.       $976.50         Review reply in support of Defendants’              .10        $97.65
                                                  purported compliance with Court order.
 02/02/2021 Mayo, Sharon D.       $976.50         Review and respond to meet and confer email         .30        $292.95
                                                  from D. Adli re threatened ex parte application
                                                  for an injunction, and emails with J. Wagener
                                                  and counsel for the Receiver re same.
 02/03/2021 Mayo, Sharon D.       $976.50         Review D. Adli email re motion to terminate         .30        $292.95
                                                  receivership and request for satisfaction of
                                                  judgment, review motion and confer with J.
                                                  Wagener re same, and review bench warrant.
 02/04/2021 Mayo, Sharon D.       $976.50         Telephone conference with Marshal’ s service re     .50        $488.25
                                                  their request for information for bench warrant
                                                  (.1), locate information and fill out information
                                                  form for warrant (.3), telephone conference and
                                                  emails with J. Wagener re press inquiries (.1).
 02/05/2021 Mayo, Sharon D.       $976.50         Review D. Adli email re purported satisfaction of   .20        $195.30
                                                  judgment, and emails with J. Wagener re same.


US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 32 of 53 Page ID
                                                   #:7287



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med        Time Billed Amount
 02/10/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s status report on compliance      .20         $195.30
                                                  with Court’ s contempt order, and confer with J.
                                                  Wagener re same.
 02/11/2021 Mayo, Sharon D.       $976.50         Revise draft opposition to motion to terminate      1.50       $1,464.75
                                                  receivership (1.1), and telephone conferences and
                                                  emails with J. Wagener re same and re issue of
                                                  satisfaction of judgment (.4).
 02/11/2021 Mayo, Sharon D.       $976.50         Review Royce notice of appeal of Second             .10        $97.65
                                                  Amended Judgment.
 02/12/2021 Mayo, Sharon D.       $976.50         Final revisions to opposition to motion to          .30        $292.95
                                                  terminate Receivership, and confer with L.
                                                  Watson re filing same.
 02/12/2021 Mayo, Sharon D.       $976.50         Review Royce response to Receiver’ s status         .10        $97.65
                                                  report on compliance with contempt order.
 02/16/2021 Mayo, Sharon D.       $976.50         Review Bellaire opposition to motion to             .10        $97.65
                                                  terminate Receivership.
 02/16/2021 Mayo, Sharon D.       $976.50         Telephone conference with U.S. Marshal re           .10        $97.65
                                                  location of E. Stolz.
 02/17/2021 Mayo, Sharon D.       $976.50         Review order imposing fine against Stolz for        .10        $97.65
                                                  non-compliance with contempt order.
 02/18/2021 Mayo, Sharon D.       $976.50         Review and respond to court request re status       .50        $488.25
                                                  conference re E. Stolz contempt (.1), confer with
                                                  J. Wagener re same (.2), confer with Deputy
                                                  Marshal re E. Stolz surrender (.1), and confer
                                                  with counsel for receiver re status conference
                                                  (.1).
 02/18/2021 Mayo, Sharon D.       $976.50         Review and respond to D. Adli meet and confer       .20        $195.30
                                                  email re threatened sanctions motion, and confer
                                                  with J. Wagener re same.
 02/19/2021 Mayo, Sharon D.       $976.50         Participate in two status conferences re E. Stolz   1.40       $1,367.10
                                                  contempt of court, and conferences with counsel
                                                  for the Receiver re same.


US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 33 of 53 Page ID
                                                   #:7288



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med           Time Billed Amount
 02/22/2021 Mayo, Sharon D.       $976.50         Review Royce reply in support of motion to             .20         $195.30
                                                  discharge the receiver and terminate the
                                                  receivership.
 02/24/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s brief re authority of Court to      .20        $195.30
                                                  order Stolz to cease interference with FCC
                                                  transfer of licenses, and review Stolz objections
                                                  to proposed order holding Stolz in contempt of
                                                  court.
 02/24/2021 Mayo, Sharon D.       $976.50         Appear for further status conference re E. Stolz       1.10       $1,074.15
                                                  contempt (.7), and prepare summary and
                                                  recommendation for J. Wagener (.4).
 02/25/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s report on Stolz efforts to          .10        $97.65
                                                  interfere with receivership.
 02/26/2021 Mayo, Sharon D.       $976.50         Review L. Watson report on further contempt            .20        $195.30
                                                  hearing and Court’ s orders from hearing.
 03/01/2021 Mayo, Sharon D.       $976.50         Review Defendants’ brief re FCC issues.                .10        $97.65
 03/03/2021 Mayo, Sharon D.       $976.50         Consider strategy for hearing on motion to             .20        $195.30
                                                  terminate receivership, and confer with J.
                                                  Wagener re same.
 03/04/2021 Mayo, Sharon D.       $976.50         Prepare for and participate in strategy call with J.   .80        $781.20
                                                  Wagener and R. Reimer re hearing on
                                                  Defendants’ motion to terminate the
                                                  receivership.
 03/05/2021 Mayo, Sharon D.       $976.50         Review receiver’ s supplemental status report to       .20        $195.30
                                                  the Court.
 03/08/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re hearing on motion to         .10        $97.65
                                                  discharge the receiver.
 03/09/2021 Mayo, Sharon D.       $976.50         Review Receiver’ s supplemental report, and            .40        $390.60
                                                  confer with J. Wagener re hearing on motion to
                                                  terminate receivership and contempt motion, and
                                                  prepare for hearing.



US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 34 of 53 Page ID
                                                   #:7289



    Date       Timekeeper          Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed Amount
 03/10/2021 Mayo, Sharon D.       $976.50         Prepare for and attend hearing on Defendants’       1.70        $1,660.05
                                                  motion to discharge the receiver, terminate the
                                                  receiver, and enjoin sale of radio stations.
 03/11/2021 Mayo, Sharon D.       $976.50         Review receiver’ s status report, and review        .40         $390.60
                                                  minutes of hearing on motion to terminate
                                                  receivership.
 03/17/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener and R. Reimer re             .20         $195.30
                                                  potential stipulation to release funds from the
                                                  Court.
 03/18/2021 Mayo, Sharon D.       $976.50         Emails re potential stipulation to release funds    .10         $97.65
                                                  from the Court.
 03/19/2021 Mayo, Sharon D.       $976.50         Review Judge Bernal’ s order denying motion to      .30         $292.95
                                                  terminate receivership, consider next steps, and
                                                  calculate further fees incurred pursuing
                                                  judgment.
 03/19/2021 Mayo, Sharon D.       $976.50         Telephone conference with J. Wagener and R.         .40         $390.60
                                                  Reimer re strategy regarding Defendants’ offer to
                                                  stipulate to release of funds, and Defendants’
                                                  latest appeal.
 03/22/2021 Mayo, Sharon D.       $976.50         Review J. Wagener summary of meet and confer        .10         $97.65
                                                  with D. Adli.
 03/22/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re strategy for release of   .20         $195.30
                                                  funds with the Court.
 03/26/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re potential fee motion,     .10         $97.65
                                                  and follow-up to discussion with D. Adli re
                                                  stipulating to release funds deposited with the
                                                  Court.
 04/01/2021 Mayo, Sharon D.       $976.50         Confer with J. Wagener re Defendants’ refusal to    .40         $390.60
                                                  pay attorneys’ fees incurred after last judgment.
 04/05/2021 Mayo, Sharon D.       $976.50         Revise draft second motion for attorneys’ fees      .90         $878.85
                                                  and costs.



US 169592752v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 35 of 53 Page ID
                                                   #:7290



    Date       Timekeeper          Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed Amount
 04/06/2021 Mayo, Sharon D.       $976.50         Draft declarations in support of second motion        1.20        $1,171.80
                                                  for attorneys’ fees and review J. Wagener edits to
                                                  brief.
 04/07/2021 Mayo, Sharon D.       $976.50         Draft and revise declarations in support of           2.70        $2,636.55
                                                  second motion for attorneys’ fees, including
                                                  review of time entries on exhibits to declarations,
                                                  and make further revisions to brief (2.4),
                                                  including emails with J. Wagener and L. Watson
                                                  to coordinate same (.3).
 04/08/2021 Mayo, Sharon D.       $976.50         Further review and revision to second motion for      1.10        $1,074.15
                                                  attorneys’ fees and supporting declarations and
                                                  exhibits (.8); and conferences with J. Wagener,
                                                  R. Reimer and L. Watson re same (.3).
                                                                                                     TOTAL HOURS: 34.3
                                                                                               TOTAL AM OUNT: $50,350.05




US 169592752v3
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 36 of 53 Page ID
                                  #:7291




                           EXHI BI T E
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 37 of 53 Page ID
                                                   #:7292



    Date        Timekeeper         Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed Amount
 12/28/2020 Watson, Laura E.      $607.50         Examine fee calculation sheet for post-judgment       .20         $121.50
                                                  costs and fees.
 12/29/2020 Watson, Laura E.      $607.50         Revise calculations for accrued interest on post-     .80        $486.00
                                                  judgment costs and fees from 12/1/20 (.6); confer
                                                  with C. Havens and S. Mayo re same (.2).
 01/04/2021 Watson, Laura E.      $706.50         Confirm recent calculations re post-judgment          .50        $353.25
                                                  interest amount (.2); email to S. Mayo re next
                                                  steps (.2); examine court’ s notice of deficiencies
                                                  re defendants’ request to deposit funds for the
                                                  second amended judgment amount (.1).
 01/12/2021 Watson, Laura E.      $706.50         Examine receiver’ s ex parte application for          .40        $282.60
                                                  contempt against E. Stolz and accompanying
                                                  documents (.2); confer with S. Mayo re next
                                                  steps (.2).
 01/14/2021 Watson, Laura E.      $706.50         Examine order directing defendants to deposit         .90        $635.85
                                                  second amended judgment amount (.1); review
                                                  and analyze practice guides re calculation of
                                                  post-judgment interest (.5); calculate post-
                                                  judgment interest for second amended judgment
                                                  (.3).
 01/19/2021 Watson, Laura E.      $706.50         Review receiver’ s updated status report of           .10        $70.65
                                                  Stolz’ s conduct.
 01/26/2021 Watson, Laura E.      $706.50         Examine receiver’ s declaration re Stolz’ s           .20        $141.30
                                                  violations of court orders, report identifying such
                                                  violations, and accompanying exhibits.
 01/29/2021 Watson, Laura E.      $706.50         Examine receiver’ s proposed order declaring          .20        $141.30
                                                  Stolz in contempt and imposing sanctions ad
                                                  court’ s minute order re same.
 02/01/2021 Watson, Laura E.      $706.50         Examine Stolz declaration of compliance on            .20        $141.30
                                                  motion for contempt and accompanying exhibits,
                                                  and receiver’ s opposition to same.



US 169592109v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 38 of 53 Page ID
                                                   #:7293



    Date        Timekeeper         Hour ly Rate          Descr iption of Ser vices Per for med         Time Billed Amount
 02/03/2021 Watson, Laura E.      $706.50         Review docket entry re defendants’ payment           .30         $211.95
                                                  deposit of second amended judgment amount;
                                                  warrant for Stolz’ s arrest; and notice of motion
                                                  and motion to discharge the receiver, and
                                                  accompanying declarations.
 02/10/2021 Watson, Laura E.      $706.50         Coordinate ordering and delivery of transcript for   .60        $423.90
                                                  contempt motion hearing (.3); examine
                                                  defendants’ status report of compliance with
                                                  court’ s contempt and self-surrender order (.3).
 02/12/2021 Watson, Laura E.      $706.50         Examine plaintiffs’ notice of appeal of second       .20        $141.30
                                                  amended judgment and reply to receiver’ s report
                                                  of noncompliance.
 02/12/2021 Watson, Laura E.      $706.50         Finalize plaintiffs’ opposition to motion to         1.10       $777.15
                                                  discharge the receiver, S. Mayo declaration, and
                                                  exhibits (.7); coordinate filing of same (.2);
                                                  confer re logistics for transcript of contempt
                                                  motion hearing (.2).
 02/15/2021 Watson, Laura E.      $706.50         Examine receiver’ s opposition to defendants’        .10        $70.65
                                                  motion to discharge the receiver.
 02/16/2021 Watson, Laura E.      $706.50         Examine Bellaire Tower HOA’ s joinder and            .10        $70.65
                                                  opposition to motion to terminate receivership.
 02/17/2021 Watson, Laura E.      $706.50         Review order re imposition of fine upon finding      .10        $70.65
                                                  of contempt and noncompliance.
 02/19/2021 Watson, Laura E.      $706.50         Attend status conference and telephonic check-in     3.70       $2,614.05
                                                  (1.5); confer with S. Mayo re same (.1); prepare
                                                  summary of proceedings for J. Wagener and R.
                                                  Reimer (2.0); confer with K. Jensen re status of
                                                  transcript order from contempt proceedings (.1).
 02/23/2021 Watson, Laura E.      $706.50         Examine receiver’ s request for transcript of Feb.   .10        $70.65
                                                  19 proceedings.
 02/24/2021 Watson, Laura E.      $706.50         Review receiver’ s submission re Stolz’s ability     .40        $282.60
                                                  to interfere in FCC proceedings, defendants’


US 169592109v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 39 of 53 Page ID
                                                   #:7294



     Date         Timekeeper      Hour ly Rate          Descr iption of Ser vices Per for med          Time Billed   Amount
                                                 objections to receiver’ s proposed order re
                                                 contempt of court, and other February 24 filings
                                                 (.2); confer with S. Mayo re today’ s hearing (.2).
 02/26/2021 Watson, Laura E.      $706.50        Attend further status conference (2.8); confer        5.60          $3,956.40
                                                 with S. Mayo re same (.2); prepare summary for
                                                 J. Wagener and R. Reimer re same (2.5);
                                                 examine minutes of status conference and minute
                                                 order (.1).
 03/01/2021 Watson, Laura E.      $706.50        Examine defendants’ response to receiver’ s brief     .10           $70.65
                                                 re interference in FCC proceedings and sale.
 03/03/2021 Watson, Laura E.      $706.50        Examine Mar. 3 filings from defendants and            .20           $141.30
                                                 interested party VCY America.
 03/04/2021 Watson, Laura E.      $706.50        Review receiver’ s latest status report, D. Kelly     .40           $282.60
                                                 declaration re Bellaire judgment, and scheduling
                                                 notice resetting Mar. 8 hearing to Mar. 10.
 03/05/2021 Watson, Laura E.      $706.50        Review receiver’ s supplement to report re Stolz’ s   .20           $141.30
                                                 perjury and contempt and defendants’ response.
 03/08/2021 Watson, Laura E.      $706.50        Review supplemental D. Kelly declaration re           .10           $70.65
                                                 Bellaire’ s ownership of antenna structure.
 03/09/2021 Watson, Laura E.      $706.50        Review second supplement to receiver’ s report re     .20           $141.30
                                                 Stolz perjury and contempt.
 03/10/2021 Watson, Laura E.      $706.50        Confer with S. Mayo re Mar. 10 hearing (.1);          1.20          $847.80
                                                 attend hearing (.6); coordinate transcript request
                                                 for Feb. 26 hearing and delivery of transcript for
                                                 Jan. 28 hearing (.5).
 03/11/2021 Watson, Laura E.      $706.50        Review defendants’ status report, court’ s minute     .40           $282.60
                                                 order of Mar. 10 hearing, and other Mar. 11
                                                 filings.
 03/12/2021 Watson, Laura E.      $706.50        Confer re Jan. 28 hearing transcript.                 .10           $70.65
 03/15/2021 Watson, Laura E.      $706.50        Review transcript for Feb. 26 hearing (.2); email     .40           $282.60
                                                 to S. Mayo re same (.2).



US 169592109v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 40 of 53 Page ID
                                                   #:7295



    Date        Timekeeper         Hour ly Rate           Descr iption of Ser vices Per for med         Time Billed Amount
 03/19/2021 Watson, Laura E.      $706.50         Review minute order denying defendants’               .20         $141.30
                                                  motion to discharge receiver.
 03/26/2021 Watson, Laura E.      $706.50         Review defendants’ transcript order and attached      .10        $70.65
                                                  court order allowing transcripts for sealed
                                                  proceedings.
 04/01/2021 Watson, Laura E.      $706.50         Examine Oct. 20, 2020 attorneys’ fees and costs       .30        $211.95
                                                  motion and supporting materials (.2); confer with
                                                  S. Mayo re strategy for second attorney fees and
                                                  costs motion (.1).
 04/02/2021 Watson, Laura E.      $706.50         Prepare accounting of attorneys’ fees and costs       5.8        $4,097.70
                                                  for motion exhibits (1.6); confer with S. Mayo re
                                                  same (.2); prepare draft second motion for
                                                  attorneys’ fees and costs (4.0).
 04/03/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       4.90       $3,461.85
                                                  and costs.
 04/04/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       2.50       $1,766.25
                                                  and costs.
 04/05/2021 Watson, Laura E.      $706.50         Prepare draft second motion for attorneys’ fees       .70        $494.55
                                                  and costs (.3); prepare email to S. Mayo re draft
                                                  (.2); review S. Mayo’ s revisions to same (.2).
 04/06/2021 Watson, Laura E.      $706.50         Finalize draft of second motion for attorneys’        1.40       $989.10
                                                  fees and costs (.5); prepare email to J. Wagener
                                                  and R. Reimer re same (.2); confer re instructions
                                                  for preparation of attorneys’ fees and costs charts
                                                  for exhibits (.7).
 04/07/2021 Watson, Laura E.      $706.50         Revise second motion for attorneys’ fees and          3.20       $2,260.80
                                                  costs, supporting declaration, and exhibits (2.8);
                                                  draft proposed order (.2); confer with S. Mayo re
                                                  same (.2).
 04/08/2021 Watson, Laura E.      $706.50         Revise second motion for post-judgment costs          1.40       $989.10
                                                  and fees and supporting declarations (.7);
                                                  research electronic signature requirements (.2);


US 169592109v3
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 41 of 53 Page ID
                                                   #:7296



     Date         Timekeeper      Hour ly Rate         Descr iption of Ser vices Per for med       Time Billed   Amount
                                                 confer with S. Mayo, J. Wagener and R. Reimer
                                                 re same (.2); prepare memorandum of costs (.3).
                                                                                                  TOTAL HOURS: 39.6
                                                                                            TOTAL AM OUNT: $27,878.40




US 169592109v3
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 42 of 53 Page ID
                                  #:7297




                           EXHI BI T F
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 43 of 53 Page ID
                                                   #:7298



    Date        Timekeeper          Hour ly Rate           Descr iption of Ser vices Per for med       Time Billed Amount
 10/15/2020 Havens, Cassandra E.   $607.50         Finalize and file motion for post-judgment          .10         $60.75
                                                   enforcement fees.
 10/15/2020 Havens, Cassandra E.   $607.50         Review and analyze Defendants’ objection to fee     .10        $60.75
                                                   motion.
 10/16/2020 Havens, Cassandra E.   $607.50         Finalize reply declaration and arrange for filing   .40        $243.00
                                                   and service for Monday.
 10/19/2020 Havens, Cassandra E.   $607.50         Oversee filing of reply brief.                      .10        $60.75
 10/20/2020 Havens, Cassandra E.   $607.50         Review and analyze reply filed by defendant and     1.00       $607.50
                                                   confer with S. Mayo regarding same (.2); revise
                                                   motion for post-judgment fees, file withdrawal of
                                                   earlier motion, and re-file post-judgment
                                                   enforcement fees motion (.8).
 10/21/2020 Havens, Cassandra E.   $607.50         Review and analyze ex parte application filed by    .60        $364.50
                                                   defendants (.2); confer with S. Mayo regarding
                                                   opposition (.4).
 10/22/2020 Havens, Cassandra E.   $607.50         Confer with S. Mayo and oversee filing of           .50        $303.75
                                                   response to ex parte application.
 10/26/2020 Havens, Cassandra E.   $607.50         Review and analyze latest filings regarding         .30        $182.25
                                                   payment of amended judgment.
 10/30/2020 Havens, Cassandra E.   $607.50         Review and analyze order regarding judgment         .10        $60.75
                                                   deposit and confer with team regarding same.
 11/02/2020 Havens, Cassandra E.   $607.50         Review and analyze opposition to fee motion and     .40        $243.00
                                                   prepare for reply.
 11/03/2020 Havens, Cassandra E.   $607.50         Confer with S. Mayo regarding strategy for reply    3.90       $2,369.25
                                                   (.1); research arguments and cases cited in
                                                   opposition brief and draft reply arguments to
                                                   address same (3.8).
 11/04/2020 Havens, Cassandra E.   $607.50         Compare rates in AIPLA resource to billed rates     .10        $60.75
                                                   for fee motion.
 11/06/2020 Havens, Cassandra E.   $607.50         Review receiver’ s request to submit documents      1.1        $668.25
                                                   under seal (.2); revise reply declaration in
                                                   support of fee motion (.9).


US 169592645v2
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 44 of 53 Page ID
                                                   #:7299



    Date        Timekeeper          Hour ly Rate           Descr iption of Ser vices Per for med        Time Billed Amount
 11/09/2020 Havens, Cassandra E.   $607.50         Finalize and oversee filing of reply in support of   .70         $425.25
                                                   fee motion (.5); review and analyze notice and
                                                   objection filed by defendants and confer with S.
                                                   Mayo regarding interest calculation (.2).
 11/10/2020 Havens, Cassandra E.   $607.50         Confer with team regarding satisfaction and          .30        $182.25
                                                   court’ s order (.2); review objection filed by
                                                   receiver (.1).
 11/20/2020 Havens, Cassandra E.   $607.50         Review order granting costs and fees and confer      .10        $60.75
                                                   with team regarding next steps.
 11/23/2020 Havens, Cassandra E.   $607.50         Review motion to enforce settlement agreement        .90        $546.75
                                                   (.7) and confer with team (.2).
 11/24/2020 Havens, Cassandra E.   $607.50         Research judgment procedures and obtaining           1.40       $850.50
                                                   funds held by court (.5); draft second amended
                                                   judgment (.9).
 11/29/2020 Havens, Cassandra E.   $607.50         Cite check, proofread, and revise opposition to      1.60       $972.00
                                                   motion to enforce settlement.
 11/30/2020 Havens, Cassandra E.   $607.50         Revise and finalize opposition to motion to          2.80       $1,701.00
                                                   enforce settlement, Mayo declaration, and
                                                   supporting exhibits and arrange for filing (1.8);
                                                   research Ninth Circuit fee issue and revise
                                                   second amended judgment (1.0).
 12/01/2020 Havens, Cassandra E.   $607.50         Revise Second Amended Judgment (.6), confer          1.00       $607.50
                                                   with S. Mayo regarding same (.1), and arrange
                                                   for filing (.3).
 12/02/2020 Havens, Cassandra E.   $607.50         Contact court clerk and courtroom deputy             .30        $182.25
                                                   regarding process for release of funds held by
                                                   court.
 12/08/2020 Havens, Cassandra E.   $607.50         Review reply in support of motion to enforce the     .20        $121.50
                                                   settlement agreement.
 12/18/2020 Havens, Cassandra E.   $607.50         Prepare for and attend call regarding upcoming       .50        $303.75
                                                   motion hearing (.4); review order on motion and
                                                   confer with team (.1).


US 169592645v2
                 Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 45 of 53 Page ID
                                                   #:7300



                                                                                       TOTAL HOURS: 18.5
                                                                                 TOTAL AM OUNT: $11,238.75




US 169592645v2
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 46 of 53 Page ID
                                  #:7301




                           EXHI BI T G
                                       Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 47 of 53 Page ID
                                                                         #:7302




2017 NLJ Billing Report
Source: National Law Journal
Category: National Law Journal


ALM Legal Intelligence collected 2017 hourly billing rates for partners, associates and of counsel from the published rates in the 20 largest federal bankruptcy jurisdictions. High, low and average attorney billing rates are
reported for 948 firms, in 31 states and the U.S. Territory Puerto Rico.




Copyright © ALM Media Properties, LLC. All rights reserved.




                                                                                                                                                                                                                      888-770-5647
Copyright 2016 ALM Media properties, LLC. All rights reserved.                                                   1                                                                                                      w w w .alm.com
                      Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 48 of 53 Page ID
                                                        #:7303

                                                                            Partner Partner Partner                               Counsel             Counsel
                                                 Largest            NLJ 500                         Associate Associate Associate
                                                                            Billing Billing Billing                                Billing             Billing
Year   Firm Name                                 U.S. Office - State Rank                            Billing   Billing   Billing
                                                                             Rate    Rate    Rate                                   Rate                Rate
                                                 City                2017                           Rate Low Rate High Rate Avg
                                                                             Low     High    Avg                                    Low               Average
2017   Cooley LLP                                Palo Alto     CA    39                       $1,100    $595      $835       $735    $850    $1,065       $998
2017   Gibson, Dunn & Crutcher LLP               New York      NY    17       $925   $1,195   $1,150    $250      $875       $685
2017   Greenberg Traurig, LLP                    New York      NY    8        $625   $1,080     $790    $450      $475       $475                         $795
2017   Jones Day                                 Washington    DC    5        $700   $1,050     $950    $300      $800       $525                        $850*
2017   Kirkland & Ellis LLP                      Chicago       IL    12       $235   $1,410   $1,115    $210      $955       $735
2017   Pillsbury Winthrop Shaw Pittman LLP       Washington    DC    73       $790   $1,235     $830                        $680*
2017   Reed Smith, LLP                           New York      NY    15       $820     $902     $880    $425      $675       $528
2017   Sheppard, Mullin, Richter & Hampton LLP   Los Angeles   CA    64                        $760*    $585      $630       $608
2017   Sidley Austin LLP                         Chicago       IL    10       $965   $1,180   $1,135
2017   Winston & Strawn LLP                      Chicago       IL    46                        $930*    $560      $750       $655
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 49 of 53 Page ID
                                  #:7304




                           EXHI BI T H
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 50 of 53 Page ID
                                  #:7305
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 51 of 53 Page ID
                                  #:7306
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 52 of 53 Page ID
                                  #:7307
Case 5:16-cv-00600-JGB-SP Document 416-2 Filed 04/09/21 Page 53 of 53 Page ID
                                  #:7308
